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                                         DECISION MEMO
                        NESTLE WATERS NORTH AMERICA INC.
                                     SPECIAL USE PERMIT
                                    U.S. FOREST SERVICE
                                     STRAWBERRY CREEK
                          FRONT COUNTRY RANGER DISTRICT
                         SAN BERNARDINO NATIONAL FOREST
                       SAN BERNARDINO COUNTY, CALIFORNIA

  B ACKGROUND
  Nestle Waters North America (Nestle) owns and operates water collection tunnels, horizontal
  wells, water transmission pipelines and associated improvements on the San Bernardino National
  Forest. These developments, commonly referred to as the Arrowhead Springs Permit, have been
  authorized since 1929, with the latest permit issued in 1978. Nestle has been operating and
  maintaining the improvements under the terms and conditions of the 1978 permit. These
  developments are located within the Strawberry Creek watershed, which is tributary to East Twin
  Creek, which is tributary to the Santa Ana River. The permit area is shown in Figure I.

  PURPOSE AND NEED FOR ACTION
  There is a need to respond to a request to authorize the continued occupancy and use of the
  existing water development facilities , water transmission pipelines, electronic telemetry
  equipment, helicopter landing areas, and access trails on National Forest System (NFS) lands.
  The Forest Service purpose is to authorize the existing facilities under a current Forest Service
  permit that is consistent with state and federal law, regulations, and the San Bernardino National
  Forest Land Management Plan (LMP).
  Nestle's project purpose is to continue to operate and maintain the existing system to supply
  bottled drinking water for retail sale. Nestle is responsible for the safe and reliable operation of
  their water system under a variety of federal and state laws, and would operate the system on
  NFS lands according to the terms of the permit.




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                                                                                       Project Area Map




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  Figure 1, Project Area




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     DECISION
     As District Ranger I have the delegated authority to approve special uses for terms that do not
     exceed 5 years . I have reviewed the project record (including public comments, specialist
     reports, and consultation with other agencies) and I have decided to approve the continued
     occupancy and use ofNFS lands for the extraction and transmission of water using existing
     improvements, subject to resource mitigation measures designed to ensure compliance with the
     LMP. The initial permit tenn will be three (3) years, with discretionary annual permits for an
     additional two (2) years. The analysis summarized in this Decision Memo is based on a
     maximum permit term of five (5) years. In addition to approving the continued use of the
     existing improvements, Nestle will conduct hydrol ogic and riparian area studies and modify
     operations under an Adaptive Management Plan (AMP) as necessary. The AMP would identify
     whether incremental changes to the mitigation measures are necessary to reduce effects on
     National Forest resources.
     My decision to approve the continued use and occupancy of existing facilities with conditions is
     based on the agency objective to authorize and manage special uses ofNFS lands in a manner
     which mitigates natural resources and public health and safety concerns, consistent with the LMP
     and all other relevant law. The resource mitigation measures, are designed to ensure that the
     impact to natural resources will be minimal, may improve resource conditions when compared to
     the existing condition. These resource mitigation measures protect and do not infringe upon
     water rights for developed spring water held by Nestle under California state water law, as
     described by a recent report from the California Water Resources Control Board staff. The AMP
     provides the permittee with operational flexibility in how those resource measures will be
     addressed. A complete discussion of water rights associated with this authorization is found on
     pages 21 to 22 of this decision memo. As described further in this decision, including the
     analysis of the potential for extraordinary circumstances as supported by the specialist reports,
     the impacts from the authorized activities, including any adjustments (resource mitigation
     measures) that may be necessary, will not result in extraordinary circumstances. While the AMP
     provides operational flexibility for meeting resource mitigation measures, implementing the
     AMP will not result in increased impacts from approved activities or cause extraordinary
     circumstances to occur. My decision is consistent with the LMP and meets the present and future
     needs of the American people.
     Based on comments from the public I have made changes and clarifications to the proposed
     action and the changes are incorporated in the description below and displayed in italics to
     differentiate information added since scoping.
     The right-of-way occupies approximately 4.5 acres ofNFS land. This use of National Forest
     System land is authorized under the authority granted to the Secretary of Agriculture by several
     laws, including the Federal Land Policy and Management Act of 1976 and the Organic Act of
     1897. The authorized activities are further described in the following sections.
     The following existing improvements will be authorized:
            2 water collection tunnels
            10 horizontal wells located within 4 concrete vaults
            5 electronic monitoring telemetry sites and associated equipment
            4 helicopter landing areas

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         5.7 miles of access trails (4.5 miles of trail are along the water transmission lines)
         4.5 miles of 4" steel water transmission pipe and associated valves
                2.75 miles of above ground pipeline
                 1.75 miles of buried pipeline (along Forest road I N24)
                20 pipeline support bridges
  The pennit would also continue to authorize administrative use and maintenance of Forest Road
  I N24 on a shared basis.
  The working area is the area needed for temporary use when routine maintenance work is
  conducted on the existing improvements. This working area is calculated based on set distances
  from approved facilities, and is used to identify the area that may be used if work is needed
  during the tenn of the penni!. Those working areas are described' in Table I.
  T a bl e 1 W or ki ng A reas.
             Improvement                 Workin2 Area
   Vault Structures                  5' around structure
   Above ground pipeline             2.5' each side
   Buried pipeline and road I N24    10' each side
   Trails                            3' each side
   Helicopter landing areas          30' radius circle
  Operation of the system - This decision approves the continued operation of the current system
  subject to the tenns and conditions of the new pennit, including the adaptive management plan
  requirements. No expansion of the well system is authorized. The system is operated to collect
  water on a year-round basis. Water infiltrates under the influence of gravity into the collection
  tunnels or horizontal wells and is transported through pipes to storage tanks on private land.
  Pipeline pressure is regulated through a series of valves located along the pipeline. There is no
  storage of water on National Forest System lands.
  Electronic devices are used to monitor conditions at the vaults. The infonnation is sent via radio
  signals to a company owned facility on private lands. The power for the devices is provided by
  solar panels with battery backup,
   Maintenance of the system - This decision approves the continued maintenance of the existing
   system subject to the tenns and conditions of the new penni!. Maintenance does not include
   expansion or change to the water system components, but does include replacement or repair of
  facilities "in kind. " The system is maintained based on periodic inspections by Nestle. Every
   piece of equipment is inspected at least annually. The maintenance work includes:
  Well and pipeline sanitizing - collection facilities are sanitized annually or more frequently as
  indicated by weekly tests. Collection areas are treated with a 200 parts-per-million solution of
  chlorine. Treated water is dechlorinated with Sodium thiosulfate and discharged through the
  pipeline system on private property. The pipeline system as a whole is sanitized by adding
  chlorine at the collection points and running that chlorinated water through the pipeline system to
  a release point on private land. All water released in conjunction with routine maintenance is
  regulated under National Pollution Discharge Elimination System pennit CA #G99800 1, issued
  by the Santa Ana Regional Water Quality Control Board.



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  Horizontal well cleaning - the horizontal wells are cleaned by brushing and water jetting the full
  length of each boring screen. The wells are typically cleaned once every 10 years.
  Equipment maintenance/replacement - all equipment including valves, sensors, and telemetry
  equipment is inspected monthly for proper operation, and maintained as needed. Maintenance
  could include cleaning and exercising valves, replacing parts within valves, and replacing
  defective components as needed. Isopropyl alcohol is used to disinfect any serviced components
  that are part of the water system.
  Pipeline repair - Any sections of pipeline that are damaged or broken by falling rocks, trees or
  other debris are repaired as soon as possible, typically as emergency work. For the above ground
  pipeline, the damaged section of pipeline is cut out and' a new section is welded in place, with
  pipe supports replaced as needed. For the buried pipeline located along I N24, a backhoe will be
  used to expose the broken section of pipe. Materials will be flown to remote repair sites using
  helicopters. Equipment powered by generators or gas motors could be used to perform the work,
  along with common hand tools.
  Vegetation management - vegetation is cleared 5 feet around vaults and 2.5 feet around the
  pipeline using motorized equipment and hand tools on an as-needed basis. Slash is lopped and
  scattered to minimize fuel loading or concentrations. Under the new permit work would be
  prohibited during the Limited Operating Periods described in the Resource Mitigation Measures.
  No use of herbicides is permitted as part of this authorization.
  Monitoring Stations - The new permit will require monitoring of resource conditions in
  locations downstream from the authorizedfacilities. Some monitoring sites will include some
  instrumentation such as streamjlow stage recorders but all sites will include simple markers for
  established plots and cross sections.
  The Hydrologic and Riparian studies described below will require clearing of helispots in the
  East Twin Creek drainage to provide access for monitoring. Up to three helispots (TC 1 through
  3) within Section 36, Township 2 North Range 4 West (refer to the June 14, 2017 map in the
  project records) may be developed. Helispots would be cleared of brush in a 20' by 20' area,
  however no trees would be removed. Brush would be cleared alongfoot trail access routes from
  the helispots to East Twin Creek monitoring locations. Up to 12 additional helicopterjlights
  may be needed to support monitoring.
  Access - This decision approves the continued use and maintenance of designated access trails
  (with a tread width of 50" or less), designated helicopter landing areas, and use of Forest road
   I N24. Maintenance crews will access work sites by using one of the authorized access points
  and then traveling cross-country or along the pipeline to reach the work site. Helicopter access is
  the most common access method used to reach the improvements, and typically 32 helicopter
  flights to the existing helicopter landing areas are required on an annual basis for routine
  inspections and maintenance. Helicopter flights for pipeline repair and emergency work would
  be on an as-needed basis.
  Trails are not regularly maintained, allowing vegetation to encroach on the trail. When the trail
  is needed for access, motorized equipment and hand tools are used to maintain foot access.
  Helicopter landing areas are maintained as needed to prevent vegetation encroachment using
  motorized equipment and hand tools.


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    A minor amount of brushing will be required to access monitoring stations and established plots
    along Strawberry Creek and in East Twin Creek. Access is typically gained by foot from Forest
    Road JN24, or from established helicopter landing areas.
    Emergency Work - Work on the system may be required on an emergency basis and emergency
    repair to pipelines and structures are conditionally authorized under this new permit. The permit
    holder will be required to notify and request approval from the Forest Service of any emergency
    work as soon as possible. The holder will be required to utilize previously approved temporary
    work areas to the extent such use is possible.
    Resource Mitigation - Permit Sections V and VlIl contain standard and supplemental provisions
    for resource mitigation that cover compliance with environmental laws, and protection of water
    quality, esthetics, and threatened, endangered and sensitive species habitat. These sections of the
    permit also include requirements that Nestle will follow ifthere is an unanticipated discovery of
    archeological or paleontological resources, or human remains, funerary objects, sacred objects,
    or objects of cultural patrimony. Supplemental standard clauses are also included to require a
    Fire Control Plan and an Invasive Plant Species Prevention and Control Plan. The Operating
    Plan required by permit section III C will include implementation details of how Nestle will
    comply with the permit terms and the required resource mitigation measures. Nestle will submit
    the Operating Plan within 60 days ofpermit issuance and implement the Operating Plan within
    30 days of Forest Service approval. Resource mitigation measures developed by the Forest
    Service in accordance with the Federal Land Planning and Management Act (FLPMA) and the
    LMP during the development of the proposed action and in response to scoping and
    environmental review include:
       •    The appropriate site-specific National Best Management Practices (BMPs) for the
            protection of water quality (USDA USFS, FS-990a, April 201 2) will be applied to the
            operation and maintenance of the pipeline, helispots, trails, roads, etc. such as those
            BMPs in the Facilities and Nonrecreation Special Uses Management Activities,
            Operations in Aquatic Ecosystems, Water diversions and conveyances, and Road
            Management Activities categories.
        •   Maintain a Limited Operating Period (LOP) for the protection ofleast Bell' s vireo
            (March 15 through September 15) and southwestern willow flycatcher (May I to August
            31), both federally listed species, during the breeding season for any disturbance related
            activities within y,; mile of suitable habitat.
        •   Maintain a limited operating period (LOP) prohibiting activities within approximately .25
            miles of a California spotted owl nest site (US Forest Service sensitive species), or
            activity center where nest site is unknown, during the breeding season (February I
            through August 15), unless surveys confirm that the owls are not nesting.
        •   Nestle will install suitable shut-off valves or other flow control devices to ensure that
            water will not be extracted in excess of the holders ability to store or transport water
            without waste or spillage from local storage. This requirement will be implemented
            within 30 days ofForest Service approval of the Operating Plans.
        •   Maintain minimum flows in two locations as described in the Adaptive Management Plan
            asfollows:
                o Lower spring complex (l0, 11, J2) - 20 gallons per minute (gpm) in the drainage
                     area A tributmy of Stra wberry Creek immediately above the confluence of

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                      drainage area A and B as defined in URS 2002. Drainage area A is the watershed
                      influenced by the water extraction.
                  o Borehole complex 1, lA, and 8 - 6.25 gpm as measured at water right A6I08.
        •    Install, supply water to, and maintain two wildlife "drinkers ", one in the vicinity of
             tunnels 2 and 3, and the other near the well 7 complex. Plans for these features will be
             submitted to the authorized officer for approval prior to installation.
        •    Continue the addition of water (irrigation) to support success of native special status
             vegetation and provide for wildlife habitat linkages if determined that less than 70% of
             expected aquatic life forms and communities are present based on riparian studies.
        •   Implement actions identified in the AMP, such as maintaining surface water flow to
            support macro invertebrate populations and riparian vegetation, and determining if
             benthic macro invertebrate (providing base offood chain to riparian dependent wildlife
             resources) diversity and abundance supported by base flows measured in East Twin
             Creek control watershed are not maintained at the 70% level by the 6.25 gpm and 20 gpm
             initial minimum flows in the diversion subwatershed
        •    Implement actions identified in the AMp, such as the direction to conduct a paired
             watershed study to assess the riparian health of East Twin Creek compared to the
            subwatershed of Strawberry Creek where the extraction points are located. Multiple
            paired study locations may be used to look at different parts of the watershed. Define
             current riparian/stream health in each watershed at all comparison study reaches to
             determine if native vegetation is vigorous, healthy and diverse in age, structure, cover
             and composition on <75% of the riparian/wetland areas in the diversion subwatershed
             where extraction is taking place compared to the East Twin Creek control area.
        •    Trash shall be removed daily during all on-site activities for the protection of wildlife.
        •    Provide an annual Project Aviation Safety Plan to the SBNF Unit Aviation Officer (VA 0)
             as part of the Annual Operating Plan for approval. The Plan should include: i) Aircraft
             company/pilot contact information, ii) Radio Frequencies, iii) Schedule ofproposed
            flights, iv) Base of operations and proposed flight routes in/o ut of watersheds, v)
             Emergency protocol for mishap.
                  o Provide Notification to Permit Administrator and UAO two weeks prior to allV
                     lJjgf!J. in order to: i) Determine if Limited Operating Period (LOP) is needed for
                      nesting/ breeding bird season for flycatcher/vireo if determined to be present
                      during the permit period, ii) Avoid any concerns with other flights in area - de-
                      conflict airspace if needed, ii) Provide FlCC/dispatch with information to track
                     flight if needed during fire season.
                  o Communicate with FICC/dispatch the day of any flight to ensure positive radio
                      communication with dispatch over assigned frequency at beginning of day/jlights
                      into area and to close out last flight/exit from area at end of day.
        •    The authorized officer will approve final locations for any helispots and access routes
            developedfor monitoring in East Twin Creek. Pre-work resource surveys will be
             conducted if required by the authorized officer.
        •    Special status plants and wildlife species:
                 o If occurrences ofFS Sensitive or Federally listed plant or wildlife species are
                      found at any time within the project area, they will be reported to the Forest
                      Service immediately. New protection measures may be developed with input from

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                    appropriate specialists, and USFWS (if federally listed species are found) .
                    Protection measures will be implemented by the project proponent for all
                    activities that may affect the identified occurrences.
         •   Invasive Plant Species Management
                o All off-road equipment will be cleaned prior to entering NFS land. The cleaning
                    measures must be practical, verifiable, and not cause other unacceptable
                    environmental problems. Depending on the nature of the debris, the equipment
                    may be cleaned using water or mechanical methods (brushing, scraping, prying),
                    compressed air, high-pressure water, or steam. This includes wheels, tires,
                    buckets, stabilizers, undercarriages and bumpers.
                o All gravel, fill , erosion control or other materials are required to be weed-free and
                    subject to review and approval by the Forest Service line officer with input from
                    appropriate resource specialists.
                o Use only weed-free equipment, mulches, and seed sources. Salvage topsoil from
                    project area for use in onsite revegetation, unless contaminated with weeds. All
                    activities that require seeding or planting must utilize locally collected native seed
                    sources when possible. Plant and seed material should be collected from or near
                    the project area, from within the same watershed, and at a similar elevation when
                    possible. This requirement is consistent with the USFS Region 5 policy that
                    directs the use of native plant material for revegetation and restoration for
                    maintaining "the overall national goal of conserving the biodiversity, health,
                    productivity, and sustainable use of forest, rangeland, and aquatic ecosystems."
                    Seed mixes must be approved by a Forest Service botanist.
                 o Minimize the amount of ground and vegetation disturbance during construction
                    and maintenance.
                 o A weed management plan will be prepared in cooperation with the Forest Service
                    for survey, prevention, reporting, controlling and monitoring weed populations in
                    the project area. The plan will be included in the Adaptive Management Plan.
                 o Take action as described in the weed management plan if the cover, quantity or
                    extent of current infestations are increasing, or new invasive species are
                    identified.
      Hydrologic and Riparian Studies - Under the new permit, Nestle will conduct hydrologic and
      riparian studies to better understand the relationship between water withdrawals, surface flows,
      and riparian habitat in order to ensure that water withdrawals under state law are also consistent
      with the LMP standards. The initial studies provided by the permittee suggest that water
      extraction is reducing surface flow in Strawberry Creek. The effect of this flow reduction has
      not been thoroughly studied. The permittee will study comparison sites in adjacent unmanaged
      drainages to determine what conditions would exist in Strawberry Creek without water extraction
      in the upper watershed. This approach is typically referred to as a "paired basin" study. This
      study will also be used to support the Adaptive Management Plan.
      The pennittee will consult with the Forest Service in the development of the study plan, and will
      submit a draft study plan to the Forest Service for approval within 30 days of permit issuance.
      The permittee will implement the plan within 30 days of Forest Service approval. The study
      period is expected to last for a minimum of three years. The Forest Service has determined that
      three years is a reasonable term to complete the studies and ensure that adequate information is

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    available to consider a longer-term permit with appropriate terms and conditions. I recognize
    that additional time (up to two years) may be needed for the studies, so my decision provides for
    discretionary annual permits for two (2) additional years. The resource mitigation measures for
    the permit will provide adequate protection and ensure effects are beneath the extraordinary
    circumstances threshold while the studies are completed.
    The study plan will incorporate the use of "test flows "to determine the response o/the streams
    to reduction in water extractions. These "test flows" may involve suspending extraction for set
    time periods to evaluate any changes in streamflow. The study plan will also include an analysis
    0/ the full hydrograph and evaluate the change in the annual hydrograph from project
    operations. The studies will include isotope studies!chemical analysis of the extracted water to
    determine water source and other characteristics.
    Adaptive Management Plan (AMP) - The permittee will implement an Adaptive Management
    Plan that addresses resource mitigation needs, and are consistent with San Bemardino National
    Forest LMP standards as required by the National Forest Management Act (NFMA). Adaptive
    management provides an implementation tool that incorporates an "implement-monitor-adapt"
    strategy that provides flexibility to respond to monitoring information that indicates that desired
    conditions are not being met. If monitoring demonstrates that the intended effects are not being
    achieved through the initial management action, the action can be modified using one or more of
    the adaptive management actions to achieve the intended effects. Each component of the
    Adaptive Management Plan would include:
        I) A Forest Plan objective (standard, requirement, handbook)
       2) A monitoring scheme to assess if the objective is being met
       3) Trigger point(s) where the Forest Plan objective is not being met
       4) Action(s) to meet Forest Plan objective(s)
       5) Monitoring to assess success of mitigation and restoration
    The Adaptive Management Plan outline is attached to this decision as Appendix I. The
    permittee will develop the implementing details of the Adaptive Management Plan using the
    outline in consultation with the Forest Service and will submit the detailed Final AMP to the
    Forest Service for approval within 30 days of permit issuance, unless the authorized officer
    extends the time for submission. The permittee will implement the plan within 30 days of Forest
    Service approval. The Final Adaptive Management Plan will be active for the term of the permit,
    and may be amended based on the results of the paired basin studies described above.
    So long as monitoring indicates that the environmental effects of the adaptive management
    approach do not exceed the scope of those anticipated in the this decision, and the actions serve
    to move the project toward the intended effects, implementation continues using the "implement-
    monitor-adapt" cycle without the need for new or supplemental NEPA review. If any changes
    are proposed that are outside the scope of this decision, the provisions of Forest Service
    Handbook 1909.15 Section 18 would apply.




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      DECISION CATEGORICALLY EXCLUDED FROM ADDITIONAL DOCUMENTATION
      For the reasons summarized in the following section, this action is categorically excluded from
      documentation in an environmental impact statement (EIS) or an environmental assessment
      (EA). The decision fits an identified category and no extraordinary circumstances are present
      which would require further analysis in an EA or EIS.

      Applicable Category
      This decision on the permit application fits within the category of actions is identified in agency
      procedures as "Issuance of a new special use authorization for a new term to replace an existing
      or expired special use authorization when the only changes are administrative, there are not
      changes to the authorized facilities or increases in the scope or intensity of authorized activities,
      and the applicant or holder is in full compliance with the terms and conditions of the special use
      authorization" (36 CFR 220.6(e)(IS)). This category ofaction(s) is applicable because my
      decision to approve the issuance of a new permit replaces an existing or expired permit,
      specifically Nestle's 1978 permit for the same facilities. Nestle is in full compliance with their
      existing permit.
      The new permit would not change any of the authorized facilities nor would it increase the scope
      or intensity of Nestle's authorized water extraction activities. The additional monitoring is
      necessary to determine compliance with current law, policy, the LMP, and pennit conditions,
      and the additional monitoring of helicopter landing areas are temporary and have minimum
      impacts. 1 am adding additional resource mitigation measures to ensure that the permit complies
      with the Land Management Plan as required by the National Forest Management Act. The Land
      Management Plan post-dates Nestle's 1978 permit. I' m also correcting and updating the
      administrative use codes, and the number of occupied acres due to more accurate mapping. The
      terms and conditions of the new permit reflect those that have become standard since Nestle was
      last issued a permit. These administrative changes are necessary to ensure the new permit is
      consistent with current law, regulation, policy and direction.
      The category identified as "Approval, modification, or continuation of minor special uses ofNFS
      lands that require less than five contiguous acres ofland" (36 CFR 220.6(e)(3)) would also apply
      to this action. This category includes actions such as approving utility right-of-ways and
      approving the continued use ofland where the use has not changed since authorized and no
      change in the physical environment or facilities are proposed. The existing facilities would not
      be expanded or changed, and the area occupies less than five contiguous acres.

      Finding of No Extraordinary Circumstances
      I find that there are no extraordinary circumstances that would warrant further analysis and
      documentation in an EA or EIS. This conclusion is based on implementation of the required
      resource mitigation measures as supported by the Adaptive Management Plan. The resource
      mitigation measures are designed to provide for consistency with the LMP. Implementation of
      the Adaptive Management Plan will allow for operational adjustments along the way to ensure
      the permitted actions remain consistent with the resource mitigation measures that prevent
      extraordinary circumstances. While the method used to achieve those resource conditions may



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  vary as described by the Adaptive Management Plan, meeting those resource conditions removes
  uncertainty as to the expected outcome.
  I took into account the resource conditions identified in agency procedures that should be
  considered in determining whether extraordinary circumstances might exist:
        I. There are no extraordinary circumstances associated with federally listed threatened or
           endangered species or designated critical habitat, species proposed for federal listing or
           proposed critical habitat, or Forest Service sensitive species based on the biological
           analysis for the proposed permit.
           Federally listed wildlife species - Protocol surveys for species were conducted in
           suitable habitat in and around the project area. There were no detection of any federally
           listed species in the project area during these surveys. The Wildlife Biological
           Assessment documents the following determinations:
           A No Effect (NE) determination has been made for the implementation of the issuance of
           a permit for up to 5 years for the conveyance of water across NFS lands for the following
           specIes:
                  Coastal California gnatcatcher, Western yellow-billed cuckoo, Santa Ana sucker,
                  San Bernardino kangaroo rat
           A May Affect - Not Likely to Adversely Affect (NLAA) determination has been made for
           the implementation of a permit for up to 5 years for the conveyance of water across NFS
           lands for the California condor due to possible disturbance from helicopter operations
           on condor that may be foraging in the project area in the next 5 year period.
           A May Affect - Not Likely to Adversely Affect (NLAA) with Beneficial Effect (BE)
           determination has been made for the implementation of a permit up to 5 years for the
           conveyance of water across NFS lands, including implementation of the Adaptive
           Management Plan and resource mitigation measures for minimum flow requirements, for
           the following species:
                  Mountain yellow-legged frog, Arroyo toad, California red-legged frog,
                  Southwestern willow flycatcher, least Bell's vireo
           Endangered Species Act Section 7 consultation was completed June 27, 2017 with the US
           Fish and Wildlife Service, with a Letter of Concurrence on the determination calls for
           threatened and endangered species.
           Forest Service sensitive wildlife species - Surveys for species were conducted in
           suitable habitat in and around the project area. There were detections of two-striped
           garter snake and willow flycatcher (migrant); both are Forest Service sensitive species.
           The wildlife Biological Evaluation documents the following determinations for Forest
           Service wildlife sensitive species:




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        The proposed permit will have no direct or indirect impacts (NI) for the following
        sensitive species:
               Arrowhead blue butterfly, northern goshawk, Townsend ' s big-eared bat, San
               Gabriel Mountains elfin butterfly, bald eagle, white-eared pocket mouse, San
               Gabriel Mountains - Nelson's desert big hom sheep, arroyo chub, Western pond
               turtle, gray vireo, Orange-throated whiptail snake, three-lined boa, San
               Bernardino flying squirrel, Fringed myotis bat, pallid bat, California spotted owl,
               Willow flycatcher migrant
        The proposed permit will have May Impactllldividuais or Habitat - Belleficiallmpacts
        (MllH-BI) at spring sites 1, 2, 3, 4, 8 and the FS spring site for the following species (or
        habitat) due to the increase in surface water at these sites required by the new permit:
                Large-blotched Ensatina salamander, San Gabriel Mountains slender salamander,
                Yellow-blotched Ensatina salamandersouthern, California legless lizard
        The proposed permit will have May Impact Illdividuais or Habitat - Belleficiallmpacts
        (MllH-BI) for the following species at spring sites 10, II, and 12 and associated riparian
        habitat on the main stem of Strawberry Creek due to the required minimum flows:
                Willow flycatcher (migrant), two-striped garter snake, Santa Ana speckled dace
        Federally listed plant species -The Botany Biological Assessment (as documented in the
        Botany Report) documents the determination that there are no currently-listed threatened
        or endangered plant species known to occur within the project area. There is also no
        suitable habitat for any Threatened and Endangered plant species that has been identified
        or any designated Critical Habitat for plants within the project area. The proposed
        reissuance of the existing permit will not affect any federally listed plant species.
        Forest Service sensitive plant species - A search of existing records and project related
        field surveys conducted from 2015-2017 found no occurrences of FS Sensitive plant
        species within the project area, however for the species listed in the table below there are
        known occurrences of some found nearby and/or suitable habitat for some may be present
        within the project area.
        The resource mitigation measures require that additional plant surveys be completed in
        the project area, as well as the paired watershed and if special status plants are found ,
        other measures will be implemented. Therefore the determination detailed in the Botany
        Biological Evaluation (as documented in the Botany Report) is that due to the design
        criteria (resource mitigation measures), the proposed reissuance of the existing permit
        may affect individuals (if present but undetected), but is not likely to result in a trend
        toward Federal listing or loss of viability for any FS Sensitive plant species as listed in
        the following summary table:




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          Snmmary of Effects Determinations for TES Species
            Common Name                                                  I    Occurrence Information l            I    Determinations 2
            Threatened & Endangered Plants
            Berberis nevinii (E)                                                           H/U                                   NA

            Brodiaea filifolia (T)                                                         VjU                                   NA

            Dodecahema leptoceras (E)                                                      PjU                                   NA

           Forest Service Sensitive Plants
           Calochortus palmeri var. palmeri                                                 V                                   MAl
           Castilleja lasiorhyncha                                                         vju                                  MAl
           Chorizanthe parryi var. parry;                                                  VjU                                  MAl
           Imperata brevifolia                                                             VjU                                  NA
           Lilium parryi                                                                     P                                  MAl
           Monardella macrantha subsp. hallii                                                P                                  MAl
           Plagiobothrys collin us var. ursinus                                              P                                  MAl
           Schoenus nigricans                                                              VjU                                  NA
           Sidalcea hickmanii subsp. parishii                                                P                                  MAl
           Sidalcea malviflora subsp. dolosa                                                 p                                  MAl
           Sidotheca caryophylloides                                                        P                                   MAl
           Symphyotrichum defoliatum                                                       HjU                                  MAl
           lOccurrence Codes:
               =
             Y Species is known to occur in or near the project area.
             P =Occurrence of the species is possible; suitable habitat exists (or could exist with restored hydrology) and it is within the
             known distribution of the species.
               =
             H Historic record.
               =
             U Unlikely to be present in project area due to lack of appropriate habitat
               =
             N Outside known distribution/range of the species.
           2Determination Codes:
                 =
             NA No effect expected
                    =
             NlAA not likely to adversely affect for TIE species;
                   =
             MAl may affect individuals but not likely to lead to a trend to Federal listing for Sensitive species.

       2. There are no extraordinary circumstances associated with flood plains, wetlands, or
          municipal watersheds. The Surface Water Hydrology Report and the Geo-Sciences
          Specialist Report (available in the project record) describe the effects of issuing the
          proposed pennit on watershed resources.
          Based on this analysis, the overall watershed condition for the East Twin Creek
          watershed (which includes Strawberry Creek) is currently "Impaired Function". Studies
          completed by Nestle and validated by Forest Service field work have demonstrated that
          the current water extraction is drying up surface water resources (springs and streams)
          that would have nonnally been perennial water resources. This extraction of water under
          the existing pennit is not in accordance with the subsequent adoption of Standard 46 of
          the Forest LMP.
          Surface water diversions and groundwater extractions, including wells and spring
          developments may only be authorized when it is demonstrated by the user, and/or agreed
          to by the Forest Service, that the water extracted is excess to the current and reasonably
          foreseeable future needs of forest resources as required by the LMP. Implementation of
          resource mitigation measures will allow for Nestle's water extraction activities consistent
          with applicable state water rights and the LMP. Overall these changes will move the

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          watershed condition up one level to " Functioning At-Risk" as described further in the
          Specialists' reports. This change in watershed condition is consistent with LMP direction
          and will help move the watershed towards the desired condition.
       3. There are no extraordinary circumstances associated with congressionally designated
          areas such as wilderness, wilderness study areas, or national recreation areas. There are
          no wilderness areas, wilderness study areas, or national recreation areas in the permit
          area.
       4. There are no extraordinary circumstances associated with inventoried roadless areas or
          potential wilderness areas. The permit is partially located within the City Creek Roadless
          Area. Roadless areas are managed under the requirements ofthe 2001 Roadless Area
          Conservation Rule (36 CFR 294 Subpart B, 2001). The purpose of the rule is to provide,
          within the context of multiple use management, lasting protection for inventoried
          roadless areas within the National Forest System. That is accomplished by the
          prohibition on road construction and timber cutting, sale, or removal.
          As described in the Roadless Area Report (available in the project records), the
          authorized activities and improvements will not change the existing roadless character of
          the area. No roads (either constructed, reconstructed, or maintained) are proposed under
          the new permit. There is no timber cutting or sale associated with the new permit. The
          new permit will be' consistent with the Roadless Area Conservation Rule.
       5. There are no extraordinary circumstances associated with research natural areas. There
          are no research natural areas in the permit area.
       6. There are no extraordinary circumstances associated with American Indians and Alaska
          Native religious or cultural sites. There are no religious or cultural sites present.
       7. There are no extraordinary circumstances associated with Archaeological sites, or historic
          properties or areas. The Heritage Program Manager has documented by memo (available
          in the project records) that this undertaking may be treated as a Screened Undertaking
          (Regional P A 2013), which has no or little potential to cause effects to historic properties
          if they are present in an Area of Potential Effects.
          This project complies with Section 106 of the National Historic Preservation Act of 1966,
          as amended in accordance with provisions of the Programmatic Agreement among the
          U.S.D.A. Forest Service, Pacific Southwest Region (Region 5), the California State
          Historic Preservation Officer, the Nevada State Historic Preservation Officer, and the
          Advisory Council on Historic Preservation Regarding Processes for Compliance with
          Section 106 of the National Historic Preservation Act for Management of Historic
          Properties by the National Forest of the Pacific Southwest Region (Regional PA 20\3).
          Standard permit conditions (Section V, conditions D and E) describe the requirements for
          protecting any discoveries of cultural resources.
  In addition to considering the resource conditions listed in the Forest Service regulations, I
  considered impacts on LMP land use zones/desired conditions; general wildlife species and
  habitat connections; fire management; and air quality and noise impacts as requested by public
  comments received in response to the proposed action. None of these additional areas of concern
  present circumstances that require further analysis in an EA or EIS. I have included a brief

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       summary of those resource concerns in the Public Involvement section of this decision , and
       further information is located in the project record.

       PUBLIC INVOLVEMENT
       This action was originally listed as a proposal in the San Bernardino National Forest Schedule of
       Proposed Actions on January 1, 2016, and updated periodically during the analysis. I began the
       public scoping process for the proposed Nestle Waters Special Use Permit on March 18, 2016.
       Letters were sent to over 2,000 individuals, groups, agencies, tribes, local governments, elected
       officials and media contacts, including land owners adjacent to the project area. Information
       about the project was, and continues to be, delivered over the internet through the project
       webpage at:
       http://go.usa.gov/cGyXH (please note - this URL is case sensitive)
       A public meeting was held on April 14, 2016 at the San Bernardino National Forest Supervisors
       Office in San Bernardino California. Over 100 people attended the meeting. The scoping
       comment period ended on Monday, May 2, 2016.
      For this project, comments were accepted by email, mail, at the public meeting, and on the
      project web page. Over 40,000 comments were received during the scoping period (including
      over 3,800 duplicate submittals). The majority of individual comments (39,895) came through
      email, 360 comments were submitted through the project web portal, and 22 written comments
      were received at the public meetings. With the exception of material with offensive language, all
      of the comment documents are available on the web in the public reading room at the following
      web address:
       https:llcara.ecosystem-management.org/Publi cIIReadingRoom?Project=48530
      Of these comments, about 30,000 were form letters, 4,200 were expanded form letters (a fonn
      letter with expanded text) and close to 1,700 were unique comment letters or emails. All of the
      unique letters, form letters, and expanded form letters were reviewed as part of the scoping
      process, and over 5,300 comments were recorded. Those comments were grouped and then
      categorized as either outside the scope ofthe analysis or within the scope of the analysis. A full
      description of the process is included in the Scoping Report that is part of the project record .
      I incorporated several changes and clarifications to the Forest Service proposed action based on
      those comments and suggestions. These changes and clarifications to the proposed action
      include:
          •   No use of herbicides will be authorized (clarification)
          •   No expansion of the system will be authorized (clarification)
          •   The discussion of maintenance activities has been expanded (clarification)
          •   Several resource mitigation measures were added, including measures to reduce water
              diversions in excess of storage capacity, require minimum flows, protect wildlife, require
              coordination of helicopter flights, and to prevent the spread of invasive species (change).
          •   A discussion of the standard clauses for noxious species control plans and fire control
              plans was added (clarification).



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       •   Incorporate the use of "test flows" as part of the riparian studies to determine the
           response of the streams to reduction in water extractions. These "test flows" may involve
           suspending extraction for set time periods to evaluate any changes in streamflow
           (change).
       •   Include an analysis of the full hydrograph and evaluate the change in the annual
           hydrograph from project operations (change).
       •   Include Isotope studies/chemical analysis to determine the source of water and
           connections between the springs and surface water (change).
    These changes and clarifications are incorporated in my decision and are displayed in italics as
    indicated above.
    I appreciate the public interest in this project and I wanted to provide further clarification on key
    concerns brought forward during scoping. In particular, many commenters asked for: specific
    analysis to be completed; questions to be answered, and alternative actions to be taken. The
    following section provides a summary of my consideration of the concerns expressed during the
    scoping comment period.
    Resource analysis suggested during scoping - Commenters suggested several resource areas
    that should be included in the analysis of the project effects. Those resource topics and my
    consideration of them are presented in the following section.
    Land Management Plan Land Use Zones and Place Desired Conditions - The upper portion
    of the proposed permit area is in a Developed Area Interface (DAI) land use zone, the lower
    wells and the majority of the above ground pipeline is in a Back Country Non-Motorized
    (BCNM) land use zone, while the balance of the above ground pipeline and the buried pipeline is
    within the Back Country (BC) land use zone. A map of the permit area compared to land use
    zones is available in the project record.
    Non-Recreation special uses (low intensity land use) are listed as suitable uses (LMP Table
    2.4.3) in the DAI and BC land use zones, and allowed by exception in the BCNM land use zone.
    I am approving continued occupancy and use by exception in the BCNM land use zone. Roaded
    access in this land use zone is not authorized by the new permit and motorized access is provided
    by helicopter by exception (LMP Table 2.4.2). The LMP states that access to authorized
    facilities and private land may occur by exception when there are existing rights to such access.
    Nestle's use is oflong-standing and precedes the adoption of the LMP standards. The activities
    and improvements authorized under the new permit will have minimal effect on the character of
    this zone and I have concluded that approving the continued use in this area by exception is
    consistent with the LMP direction.
    The permit area is located within the San Bernardino Front Country Place. The desired condition
    for the area is to maintain a natural appearing landscape while managing vegetation to provide
    fire protection for adjacent urban communities, recreation areas and wildlife habitat. Habitat
    conditions for threatened, endangered, and sensitive species are improving over time. Heritage
    properties and Native American gathering areas are identified and protected. The program
    emphasis is on community protection from wildland fire and conservation of habitat for



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  threatened, endangered, and sensitive species, such as the southwestern willow flycatcher,
  mountain yellow-legged frog and speckled dace.
  I have concluded that the resource mitigation requirements included in project design and
  reflected in permit terms and conditions, and the resulting effects of the authorized acti vities and
  improvements, are consistent with the direction for the San Bernardino Front Country Place.
  Wildlife - As documented in the Wildlife Specialist Report (located in the project record), the
  new permit would not change the function of existing wildlife habitat connection corridors and
  would not create an impassible barrier to wildlife movement across the landscape. The new
  pennit would not adversely impact migratory land birds or their habitats through implementation
  of the required resource mitigation measures. Issuing the new permit would not change the risk
  for the introduction of non-native terrestrial or aquatic wildlife species.
  Fire and Fire Risk - As documented in the Fire and Fuels Specialist Report (located in the
  project record), the new permit would not present a significant impact on the San Bernardino
  National Forest Fire Management Program. Local fire managers are accustomed to mitigating
  for the presence of infrastructure that goes with fire suppression operations in an urban
  environment.
  The public raised a concern during scoping that water extraction may alter the riparian ecosystem
  such that fuels, species composition, and microclimate become similar to uplands, diminishing
  their value in fire control as firefighter safety zones and suppression control lines. The biological
  reports address the nature of the vegetation within the riparian zones. The Wildfire Specialist
  Report considered the use of riparian areas as suppression control lines and fire fighter safety
  zones.
  The Strawberry Creek drainage is located within a south facing watershed along the San
  Bernardino front country. The stream channels are steep and located within narrow canyons.
  Historical fire data running back to the early 1900's was analyzed for the specific drainages
  identified in either the proposed action or reference study area and the fire perimeters were found
  to have shown little regard to the watershed boundaries or stream channels. Several large fires ,
  including the Old Fire of 2003, have burned across the entire slope. Under no circumstances
  were the final fire perimeter boundaries established in drainages.
  Fire managers in Southern California typically look to prominent ridge systems for both direct
  and indirect firefighting efforts that include aerial attack supported by heavy equipment and line
  personnel on the ground. Drainages along south aspects are avoided and would never be
  considered safe areas for personnel to take shelter from an advancing fire . Based on these
  factors, the new permit would have no effect on the ability to suppress fires in the affected
  watersheds, nor would it diminish fire fighter safety.
  Noise - The new permit would authorize the continued access to the permit area by helicopter.
  Approximately 32 flights per year are typically conducted in support of operation and
  maintenance activities, with additional flights needed to support monitoring. The public raised a
  concern regarding the noise related to use of helicopters. The Forest Service does not have
  requirements or LMP standards related to noise. San Bernardino County ordinances exempt
  temporary operation between 7 a.m. and 7 p.m. , except for Sundays and Federal Holidays, from



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  the County regulations. The permittee is required to comply with local regulations, and would
  have to operate within the timeframes outlined by County regulations.
  Air Quality - Maintenance of the existing facilities authorized by the new permit would generate
  emissions from helicopter use to transport staff to the remote site. As documented in the Air
  Resource Specialist Report (located in the project record) , the total emissions of criteria
  pollutants from the operations authorized by the new permit are less than the federal general
  conformity de minimis threshold emission rates. Therefore, the general conformity requirements
  do not apply, and the decision to approve continued occupancy and use of the existing water
  development facilities, water transmission pipelines, electronic telemetry equipment, helicopter
  landing areas, and access trails on National Forest System (NFS) lands complies with the Federal
  Clean Air Act. The total emissions of criteria pollutants from the operations authorized by the
  new permit would be less than South Coast Air Quality Management District's significance
  thresholds and therefore complies with local rules and regulations.
  Additional Questions Raised During Scoping - Many of the comments received were
  presented as questions regarding a broad range of topics, including questions about how the
  analysis would be conducted and how the decision would be made. The questions and my
  responses are presented in the following section.
  Questions related to the general use of SciencelBaseline for analysis - Many of the
  commenters questioned whether the proposed action relies on the use of a credible scientific
  approach for the required resource surveys and the Adaptive Management Plan. They also
  questioned the role ofthe permittee (Nestle) in completing resource studies as required by the
  new permit. Concerns raised by the public include:
       •   Lack of study plan details
       •   Need for unbiased studies
       •   Need to define baseline
  For est Service Response - My decision incorporates both clarification and changes to the
  hydrologic studies and adaptive management plan. Although Nestle will complete the studies, a
  burden that typically falls to permittees, the qualifications of the scientists and resource
  specialists completing the work will be reviewed and approved by Forest Service staff. In all
  cases the results of the studies will be independently reviewed by staff before being accepted as
  completed work.
  Baseline is a concept that helps evaluate environmental effects from a specific condition or point
  in time. In this case, baseline for the environmental analysis is the current condition as it exists
  today, while recognizing that this baseline condition is influenced by the past and present water
  extraction that is authorized under the existing permit. Using the current condition as the
  baseline does not imply that the existing condition is producing acceptable environmental effects
  or is consistent with the LMP. The analysis of effects in the specialist reports for each resource
  area discloses the changes to baseline that will result from implementing the new permit. The
  specialist reports are included in the project record.
  Questions about the Decision Process - Some commenters raised questions about the
  application of the NEPA definition of "significantly" found at 40 CFR 1508.27. Other
  commenters suggested that the proposed restrictions are arbitrary and capricious, questioning the


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  jurisdiction of the Forest Service to regulate water diversions and challenging the applicability of
  the Land Management Plan to the operations.
  Forest Service Response - My decision and the process I used to support my decision are
  consistent with the Forest Service NEPA regulations found at 36 CFR Part 220, and Forest
  Service directives found in the Forest Service manual (FSM 1950) and Forest Service handbook
  (FSH 1909.15). My decision to issue a special use permit qualifies under the categorical
  exclusion regulations as discussed above. I have documented my finding that the degree of the
  effects on the listed resources did not result in extraordinary circumstances. The record also
  reflects the need for, and benefit of, the resource mitigation measures to comply with LMP
  standards which apply to this decision. The question regarding the jurisdiction of the Forest
  Service is addressed below.
  Questions about roles and authorities - There was widespread concern about the relationship
  between the Forest Service and Nestle, particularly as it relates to the role of the permittee in
  conducting resource studies used in the AMP. Many commenters suggested stronger roles for
  other agencies, or suggested an independent review of the proposed action.
  Forest Service Response - While the Forest Service special use regulations allow
  applicants/permittees to complete studies related to the impacts oftheir proposed use, I am
  responsible for ensuring that the Forest Service completes an independent review of the
  submitted material. Forest Service staff reviewed the studies provided by Nestle, and if the
  studies met Forest Service standards they were referenced in the appropriate specialist reports.
  Staff has also spent time in the field to spot check the survey work submitted by Nestle, and to
  support their own independent assessment of the environmental effects. Staff has also
  coordinated with other agencies, and hosted an interagency field trip early in the review process
  and completed the necessary regulatory consultation and/or compliance. That is the role of the
  Forest Service as the land management agency, and my decision is consistent with that
  responsibility. It is not a responsibility that can be assigned to an independent review group.
  Questions about consistency with law, regulation, and policy - Numerous comments were
  related to the consistency of the proposed action with law, regulation, and policy. Specific
  comments included questions whether:
      • The existing permit issued to a corporation that was dissolved through merger in 1987
          was valid
      • The Forest Service followed policy when it accepted the application
      • The Forest Service followed policy when it changed the scope of the proposed permit
          without consulting Nestle
      • The Forest Service properly applied the special use screening criteria
      • The proposed action is consistent with the Organic Act requirements for the use of water
          on the National Forest (I6 USC 481)
      • The Forest Service analysis should be limited to the impacts of the right-of-way, and
          whether the impacts of water extraction related to any impacts from the right-of-way and
          subject to mitigation requirements imposed by the Forest Service.
      • Nestle water rights are valid existing rights exempt from the requirements of the National
          Forest Management Act (NFMA) or the Federal Land Management Policy Act (FLPMA)
      • The proposed action must be consistent with the LMP standards


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        •   Nestle needs other federal or state permits
        •   The proposal violates other federal, state, or local plans
     Forest Service Response - I appreciate the level of interest and focus on management of the San
     Bernardino National Forest represented by these questions. I certainly agree with many of the
     comments. My decision must be consistent with existing law, regulation, and policy. My
     decision addresses those questions in the section that discusses findings required by other laws.
     Rather than repeat that discussion here, I will emphasize that the Forest Service has both the
     authority and obligation to regulate the occupancy and use of National Forest System lands in a
     manner that is consistent with all applicable laws, regulations, and policy. That authority
     includes the ability to impose terms and conditions needed to comply with applicable law,
     regulation, and policy, and I believe the terms and conditions that I have adopted are within my
     authority and will meet my statutory obligations.
     Questions regarding the use of water - Several commenters pointed out that the existing 1978
     permit incorrectly categorizes the use of water as irrigation.
     Forest Service Response - The comment is correct. This will be corrected in the new permit.
     The use will be categorized under the Forest Service special use manual direction (FSM 2720) as
     having a primary use code of915, which applies to water transmission lines smaller than 12",
     and a secondary use of 931, which applies to wells.
     Questions regarding "Spring Water" - Several commenters suggested that the designation of
     "Spring water" by Nestle is not consistent with the federal Food and Drug Administration (FDA)
     regulations found at 21 eFR 165.110.
     Forest Service Response - This is not an area within my jurisdiction, but permittees are
     required to comply with all applicable laws and regulations. I contacted the FDA and passed
     along the public concern. The FDA reviewed the information that was supplied by the Forest
     Service as well as what was in their own records and was able to affirm that several of the
     tunnels and bore holes meet the standards in the FDA regulations. They did not have sufficient
     information to determine the status for several other bore holes, but did not conclude that there
     was any violation of the regulations. I directed Nestle to work with the FDA to resolve any
     outstanding questions and Nestle provided additional information regarding these other bore
     holes to the FDA, In a letter dated August 21,2017, FDA concluded that the remaining bore
     holes in question could be "labeled as "spring water" as long as the current conditions are as you
     (Nestle) have described (i.e., the water flows from the bore hole using the same natural forces
     that cause the spring to flow to the natural orifice) and all other applicable provisions of the
     bottled water standard are met." Nestle is in compliance with the existing permit on that basis.
     This question is not related to a potential environmental impact, and does not change the
     expected effects of implementing the new permit, nor would any actions that the FDA may take
     alter or increase the environmental effects of the new permit. There is no potential that any
     change in the resolution of this question would lead to extraordinary circumstances.
     Questions about continued use - Many commenters felt that allowing continued use during the
     analysis is inconsistent with the NEP A regulations that limit actions taken during the analysis.
     Forest Service Response - Allowing use under an existing permit is not inconsistent with the
     NEPA regulation at 40 eFR 1506.1, which applies to limitations on actions taken on a proposal

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    during the NEPA process. Nestle has an existing permit that allows them to occupy and use
    National Forest System land, and may continue to operate and maintain their improvements as
    the new permit is evaluated.
    Questions about consistency with state water rights law - Questions were raised regarding the
    California state water rights held by Nestle. Specific comments include questions whether:
       • Nestle has a valid state water right, and their use is consistent with the California water
           codes
       • Regulating water extraction exceeds Forest Service jurisdiction in conflict with California
           water rights law
    Forest Service Response - I recognize that the state of California regulates water rights
    through the State Water Resources Control Board (SWRCB). The SWRCB staff offered to
    assist the Forest Service in our review, and the Forest Supervisor accepted their offer in May
    of2016.
    The SWRCB, Division of Water Rights also received several water rights complaints against
    Nestle starting on April 20, 2015, including a complaint that Nestle was diverting water
    without a valid state water right. The SWRCB released their Report of Investigation
    ("investigation" or "report") on December 20,2017. The full report with attachments is
    available online at:
    h tlps:1Iwww .wateTboards.ca. govIwaterri ghts/wa teT issues/pTo gram sl en fOTcem entl comp Iaints/n
    estle.htrnl
    The SWRCB staff concluded that:
       •   Nestle is diverting water without a basis of right - the investigation concluded that a
           significant portion of the water currently diverted by Nestle appears to be diverted
           without a valid basis of right, after examining a variety of water rights claims put forward
           by Nestle and finding them flawed.
       •   Nestle's claim to a pre-1914 water right is not valid - Nestle's claims of senior water
           rights that originate from an 1865 possessory claim by David Noble Smith is limited to
           riparian uses and is not valid for Nestle's current appropriative diversion and use of water
           from the San Bernardino National Forest.
       •   The Del Rosa judgment did not award water rights - Nestle claims to have pre-1914
           water rights originating from its predecessor, which was awarded access to water from
           the upper reaches of the Strawberry Canyon Watershed under the Del Rosa Judgment.
           The judgement was a stipulated settlement agreement between private parties resulting
           from a judicial proceeding, and could not supersede requirements to comply with the
           1913 Water Commission Act, which established the exclusive means of appropriating
           water in California through a comprehensive permitted scheme.
       •   Nestle may be able to claim a pre-1914 water right to Indian Springs - the
           investigation concluded that Nestle may have an appropriative right to 26 acre-feet (8.5
           million gallons) of water per year from Indian Springs, which is a spring located on the
           national forest but in a different tributary from the current water system. Nestle has never
           claimed this right, but the staff report concluded that it could be applied to the current


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           operation. The state assumed that this water right was used as part of Nestle's water
           di versions.
       •   Nestle may be appropriating ground water - the investigation concluded that Nestle is
           withdrawing percolating groundwater from several horizontal wells. California does not
           grant the SWRCB permitting authority over groundwater, so Nestle' s diversion of
           groundwater may continue with permission of the overlying landowner.
  Corrective Actions: the staff report identified several recommended actions that Nestle would
  have to complete to be in compliance with state law, including:
       •  Immediately cease any unauthorized diversions
       •  Within 30 days file notices for both the authorized and unauthorized diversions
       •  Within 60 days submit an interim compliance plan for review and approval by the
          SWRCB
      • Within 90 days submit an investigation and monitoring plan for SWRCB approval
      • Within 18 months submit a final report and compliance plan, including a model for
          determining how diversions impact surface flows
  Other recommendations: the staff report recommended that no action be taken on the claims
  of injury to public trust resources pending the implementation of the Forest Service special use
  process and adaptive management plan.
  The staff recommendations are prospective and they indicated Nestle's claim of water rights was
  reasonable if mistaken. Under these circumstances Nestle is in compliance with the terms of
  their existing permit so long as they comply with the lawful orders of the SWRCB. This same
  standard applies to the permit approved in this decision.
  As with any area where jurisdiction is shared with another agency, the Forest Service authority to
  regulate occupancy and use is independent ofthe SWRCB. Nestle is subject to this shared
  jurisdiction, and will be required to follow any final direction from the state, as well as the
  conditions of their Forest Service permit. There is nothing in the SWRCB staff
  recommendations that would require the Forest Service to reduce or alter the resource mitigation
  measures outlined in this decision or allow for an increase in the environmental impact of the
  authorized actions that would result in extraordinary circumstances.
  There is overlap with the SWRCB requirement for an investigation and monitoring plan and the
  Forest Service required hydrologic studies and Adaptive Management Plan. I will ensure that
  Forest Service staff coordinates with the SWRCB to the extent possible so that the studies are
  conducted in an efficient manner that is consistent with LMP standards and the permit
  requirements. Nestle is currently conducting monitoring as part of the current permit, and that
  monitoring will continue under the new permit. Nestle will need written Forest Service approval
  for any additional monitoring on the National Forest and must secure that approval prior to
  conducting any additional monitoring work on the Forest.
  Nothing in my decision requires transfer of any state water right from Nestle to the United
  States. Surface water in California is a public resource that is regulated by the State Water
  Resources Control Board, which determines the basis for Nestle's right to use water. With full
  recognition of those rights, the San Bernardino National Forest Land Management Plan allows



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  for water extraction from National Forest System lands, but does require that permitted uses
  protect forest resources and operate in compliance with all applicable laws and regulations.
  The Forest Service controls the use of the National Forest System lands. If a water rights holder
  wants to install and maintain infrastructure to access water on the National Forest, they must
  obtain a land-use authorization from the Forest Service and follow any tenns and conditions
  included. If the Land Management Plan requirements can be met, and the applicant has a valid
  state water right, then the access and infrastructure that facilitates water extraction can be
  authorized.
  Questions about the public involvement process - Several commenters suggested that public
  involvement should have included a different approach, including:
     • Public field trips
     • Meetings with technical work groups
     • A public meeting format where agency official made a presentation and took questions
         from the audience
     • A public meeting format where the audience could make verbal comments on the record
  Forest Service Response - I used an approach that included direct mail notification to over
  2,000 contacts, including property owners within the affected watershed, and held a public
  meeting where the public could discuss the project directly with Forest Service staff. The Forest
  Public Affairs Officer responded to numerous media requests, and the permit review has been
  widely covered in both the local and national news. I chose not to hold public field trips due to
  safety concerns. The permit area is located in steep, rugged terrain that is accessed by foot.
  Parking in the vicinity is limited and along a busy state highway with narrow road shoulders.
  Given those constraints it would not be practical to offer a public field trip under those
  conditions. I would note, as reported in the media, that small groups of interested public have
  accessed the site. There are no forest orders or other limits on public access to the area.
  I also did not see the need to hold technical workshops. The staff that I have assigned to the
  project are qualified, experienced and capable of providing me with technical analysis and
  professional advice. Those same staff were available to discuss the project directly with the
  public during our public meeting. I find the informal public meeting setting more productive,
  efficient, and less confrontational than the suggested hearing format. People that attended the
  public meeting could and did submit written comments, and staff had material available to
  facilitate that process.
  Alternative actions - I also evaluated a number of alternative actions suggested during scoping.
  I incorporated several changes and clarifications to the Forest Service proposed action based on
  public comments and suggestions (see pages 15 and 16). I have briefly summarized my
  considerations of these alternative actions.
  Suspend Operations while studies are conducted - Many commenters who generally oppose
  the new permit as proposed by the Forest Service requested I consider suspending all NestIe's
  operations while studies are completed. Under this approach, the Forest Service would not
  authorize the extraction of water while studies were being completed on Strawberry Creek,
  however the improvements would be authorized and Nestle would be allowed to maintain the
  improvements for eventual use. Further, there would be no need for a paired basin study or
  adaptive management plan as all required studies would be conducted within the affected

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  watershed. Under this alternative action it is likely that operations would be suspended for three
  to five years to allow for adequate study time.
  Forest Service Response - Nestles operations on the National Forest are oflong-standing, and
  have been permitted since 1929. Nestle's operations have been consistent with prevailing Forest
  Service law, regulation and policy through the intervening decades. Nestle has undergone
  multiple permit renewals prior to the current review. In such circumstances, suspending
  operations to study the effects of issuing a new permit for an existing use is not necessary in the
  judgment of the Forest Service as long as the permittee is operating consistent with the terms and
  conditions of the existing authorization, as is the case here. There is no compelling evidence
  before the agency that suspension of the permitted activities is necessary to determine terms and
  conditions of a new permit for the activity that will adequately protect the federal resources.
  Issue a 1 year or lO-year Permit - Several commenters suggested issuing shorter term permits.
  Another commenter suggested a 1O-year permit would be appropriate. Forest Service
  regulations (36 CFR 251.56(b )(1) require, in part, that "The duration shall be no longer than the
  authorized officer determines to be necessary to accomplish the purpose ofthe authorization and
  to be reasonable in light of all circumstances concerning the use ... ". Forest Service policy (at
  Forest Service Manual section 2703.3) states "Limit the use to the minimum area and period of
  time required to accommodate the use."
  Forest Service Response - In this case the Forest Service has selected a three (3) year initial
  term in light of all circumstances concerning the use as an appropriate length of time to
  accommodate the use and associated studies, with a provision for discretionary annual permits
  for an additional two (2) years. The Forest Service has determined that three years is a
  reasonable term to complete the studies and ensure that adequate information is available to
  consider a longer-term permit with appropriate terms and conditions while recognizing that
  additional time may be needed to complete the studies prior to the expiration of the initial three-
  year permit. The resource mitigation measures for the 5 year timeframe will ensure effects are
  beneath the extraordinary circumstances threshold while the studies are completed. A short term
  permit would not allow enough time to complete meaningful studies. While extending the term
  may be more advantageous to the permittee, it does little to ensure that the operations and water
  extraction are conducted in a manner that protects national forest resources within the shortest
  amount of time.
  Implement Voluntary Measures - Nestle proposed a voluntarily Adaptive Management Plan
  during scoping and offered a detailed plan as an alternative action to the Forest Service proposed
  Adaptive Management Plan. Under this proposed approach, implementation of the Adaptive
  Management Plan would be discretionary on the permittees part. Under such a voluntary
  approach, the Forest Service would have no regulatory recourse if the permittee were to change
  its commitment to the plan.
  Nestle submitted an unsolicited "Final Draft Adaptive Management Plan" (Final Draft AMP) to
  the Forest Service on December 20,2017. According to Nestle, this Final Draft AMP is based on
  their proposed AMP submitted on May 2, 2016. Nestle stated that this latest version of their
  Draft AMP reflects communications with the USFS on the appropriate elements of an AMP.
  The proposed alternative Adaptive Management Plan would study the same objectives as the
  Forest Service proposed plan, but the triggers and actions for riparian area objectives would be

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    different. Triggers for streamflow would be based on the Palmer drought index as a trigger for
    reduction in water extraction. Reductions would be implemented by reducing extraction using a
    fixed percentage of the extracted flow. Under the original proposed Adaptive Management Plan
    submitted in 2016, water extraction would be reduced, potentially up to 50% in extreme drought
    conditions. Under the December 2017 Final Draft AMP, the proposed reductions in extraction
    have been modified so that the range is now potentially up to 30% decrease in extreme drought,
    or 40% if photo monitoring shows a 30% loss of riparian canopy from the prior year.
    Forest Service Response - FLPMA requires that "Each right-of-way shall contain (a) terms and
    conditions which will (i) carry out the purposes of this Act and rules and regulations issued
    thereunder; (ii) minimize damage to scenic and esthetic values and fish and wildlife habitat and
    otherwise protect the environment. . .", and Forest Service regulations (36 CFR 251.56(a)(I)
    require that "Each special use authorization must contain: (i) Terms and conditions which will:
    (A) Carry out the purposes of applicable statutes and rules and regulations issued thereunder; (8)
    Minimize damage to scenic and esthetic values and fish and wildlife habitat and otherwise
    protect the environment; ... ". Voluntary adoption ofa plan to protect riparian resources is not
    consistent with the requirement that each permit must contain such conditions. Voluntary
    measures are not reasonable when the regulatory structure requires mandatory conditions.
    Further, the proposed alternative Adaptive Management Plan and the updated Final Draft AMP
    are inconsistent with the Land Management Plan (LMP) and FLPMA requirements and therefore
    do not meet the Purpose and Need for this Forest Service action. LMP Standard 46 requires that
    water extraction will only be authorized when the user demonstrates that the water extracted is
    excess to the needs of National Forest resources. Under the LMP standards, if the riparian
    resource needs are met, any water in excess of that need is available for extraction. While the
    alternative approach would reduce extraction by 10%, 20%, 30%, or 40% there is no mechanism
    proposed to assure that the various levels of reduction will provide adequately for riparian
    resources. In addition, the approach proposed does not provide a measurable basis for a starting
    point from which flows would be reduced. While this approach provides for a greater degree of
    certainty for water extraction operations, it does not satisfy the LMP requirements. This
    alternative AMP was not considered further because it is not consistent with the LMP.
    Reissue a New Permit Under the Same Terms as the 1978 Permit - One comment suggested
    that the Forest Service should evaluate an alternative action that would issue a permit for a 10
    year term that does not contain permit terms that differ from the existing 1978 permit. More
    specifically, the comment suggested that the Forest Service should evaluate a new permit that
    does not include conditions that would restrict the extraction of water from National Forest
    System lands.
    Forest Service Response - New permits must use the most current standard form, and from an
    administrative standpoint it would not be feasible to issue a new permit based on the old permit
    form , which is now obsolete. In addition, as explained in the purpose and need section, any new
    permit issued must comply with Forest Service law, regulation, policy, and LMP standards, all of
    which have changed since Nestle was last issued a permit. The LMP, first adopted in 1989 and
    revised in 2005, places an increased focus on balancing development with environmental
    protection, and imposes specific direction for protecting watershed function. The 1978 permit,
    which was issued II years prior to the first LMP, does not include conditions that reflect this
    management direction.

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  When a permit does not provide for renewal, as is the case here, the decision to reauthorize the
  use is discretionary. Consistent with Forest Service regulations (36 CFR 251.64), the authorized
  officer may modify the terms, conditions, and special stipulations to reflect new requirements in
  current land use plans. The proposal to maintain terms and conditions from the expired permit
  does not meet the project purpose and need, which includes the need to respond to a request to
  authorize a permit that is consistent with state and federal law, regulation, policy, and with the
  San Bernardino National Forest LMP.
  Actions outside the scope of the analysis - A few comments suggested actions that are outside
  the scope of this analysis, including reducing plastic waste, changing the diversion to the lower
  watershed, and evaluating the area for wild and scenic designation.
  Several comments suggested an alternative action that reduces plastic waste. According to those
  comments, Nestle may produce up to 13 billion bottles of water from the water extracted from
  the San Bernardino National Forest. The proposed alternative action presumes that many of
  these bottle end up as waste and or litter. No specific reduction is proposed.
  There is no question that reducing waste and recycling plastic bottles is an important societal
  issue. California has an extensive recycling program that includes producers, distributors,
  recycling facilities, along with a redemption program. Nestle must participate in this program as
  a producer. Developing an alternative action that goes beyond the existing framework is beyond
  the scope of this analysis and outside of Forest Service jurisdiction.
  Several commenters suggested moving the extraction point to the lower end of the Strawberry
  Creek / East Twin Creek watershed. This alternative action is based on the premise that
  extracting water in the lower watershed would have less impact on Strawberry Creek surface
  water flows within the National Forest. One comment suggested that Nestle relocate to another
  location with more plentiful supply of water such as headwaters of the Mississippi river.
  As this is an existing use oflong-standing, the decision framework is whether or not I will
  approve continued use and occupancy and authorize a new permit for the existing facilities at the
  request of the permittee, and ifso what conditions apply. My decision does not include a need to
  find a new location for the facilities if I chose not to approve the continued use ofNFS lands. It
  would be up to Nestle to determine if they wanted to pursue a new permit for a different location.
  Therefore, an alternative action to relocate the facilities is outside the scope of this analysis.
  One comment suggested an alternative action that would consider and evaluate Wild and Scenic
  River eligibility for Strawberry Creek. Wild and Scenic River eligibility was evaluated as part of
  the LMP revision in 2005. As described in Appendix E of the LMP Final Environmental Impact
  Statement, free flowing streams with outstandingly remarkable characteristics were evaluated.
  Strawberry Creek did not make the eligible rivers list. Since this alternative action was already
  considered in the LMP, it is outside the scope of this analysis.

  CONSULTATION WITH OTHER GOVERNMENT AGENCIES
  The March 18, 2016 scoping notice was distributed to federal , state, and local agencies. Written
  replies were received from the US Environmental Protection Agency, the US Fish and Wildlife
  Service, the State Water Resources Control Board (SWRCB), the Santa Ana Regional Water
  Quality Control Board, the California Department of Fish and Wildlife, and San Bernardino
  County. Copies of the correspondence are available in the project record.

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  The SWRCB is conducting their own investigation into the water rights held by Nestle, and the
  Forest Service has worked directly with the SWRCB staff on that matter, including participation
  in a June IS , 2016 site visit. As I've described earlier in the decision, the SWRCB staff issued
  their Report of Investigation on December 20, 2017. Although the SWRCB staff has made
  numerous recommendations in their report, the SWRCB has not taken formal action. The Forest
  Service will continue to work with the SWRCB as requested.
  The Forest Service is also working directly with the US Fish and Wildlife Service (FWS) and the
  California Department of Fish and Wildlife (CDFW). I have incorporated the FWS suggestion
  that our watershed studies measure the isotopes in the water to help determine travel time and
  source locations. I have consulted with the FWS as required by Section 7 of the Endangered
  Species Act, requesting informal consultation for the findings documented in the Wildlife
  Biological Assessment. The FWS concurred with the findings by letter of June 27, 2017.
  As discussed above, the Forest Service corresponded with the FDA to relay public concerns
  relating to Nestle's labeling of its bottled water.

  TRIBAL CONSULTATION
  The Forest Service initiated government to government consultation with the San Manuel Band
  of Mission Indians by letter of January 23, 20 I 6. The Front Country District Ranger and Forest
  Tribal Liaison met with tribal leaders and staff in August of 20 16 to discuss the proposed permit
  in more detail. Government to Government consultation is on-going.

  OTHER PERMITS REQUIRED
  Nestle, as the pennittee, is subject to the jurisdiction of other federal agencies, as well as state
  and local agency requirements. Nestle must comply with federal and state drinking water
  standards, follow state and local requirements for their wells, hold a valid state water right, and
  comply with any Regional Water Quality Control Board discharge requirements. The California
  Department of Fish and Wildlife may also require permits related to stream alteration.

  FINDINGS REQUIRED BY OTHER LAWS AND REGULATIONS
  The findings related to the Endangered Species Act, the National Historic Preservation Act, the
  Migratory Bird Treaty Act, the Clean Water Act, and the Clean Air Act were addressed in my
  evaluation of extraordinary circumstances or in response to resource topics suggested by the
  public during scoping. I also considered the following laws, regulations and policy as they relate
  to my decision.

  The Organic Act
  The Organic Act established the forest reserves and continues to provide the basic authority for
  the management of those lands. Part of the act states that "All waters within the boundaries of
  national forests may be used for domestic, mining, milling, or irrigation purposes, under the laws
  of the State wherein such national forests are situated, or under the laws of the United States and
  the rules and regulations established thereunder." (16 USC 481). The State of California Water
  Resources Control Board regulates water rights and beneficial uses of water within the state.
  The Santa Ana Regional Water Quality Control Board (a subdivision of the SWRCB) has
  identified beneficial uses for the Santa Ana watershed, including the use of surface waters of

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    Strawberry Creek as "Municipal and Domestic Supply" (MUN), which are waters that are used
    for community, military, municipal or individual water supply systems. These uses may include,
    but are not limited to, drinking water supply. Based on my review of the basin plan, 1 have
    concluded that the authorized use of the water is consistent with the requirements of the Organic
    Act.

    Multiple-Use Sustained-Yield Act (MUSYA)
    The MUSY A provides that:
           "It is the policy of the Congress that the national forests are established and shall be
           administered for outdoor recreation, range, timber, watershed, and wildlife and fish
           purposes."(16 USC 528)
    My decision is consistent with the purposes for which the San Bernardino National Forest was
    established. The resource mitigation measures include provisions for the protection of
    watershed, wildlife, and fish (aquatic) resources.

    The Federal Land Policy and Management Act (FLPMA)
    Under FLPMA, the Secretary of Agriculture has authority to issue rights-of-way for:
           " ... reservoirs, canals, ditches, flumes, laterals, pipes, pipelines, tunnels, and other
           facilities and systems for the impoundment, storage, transportation, or distribution of
           water ... "(43 USC 1761)
    Provided:
           "Each right-of-way shall contain--
                 (a) terms and conditions which will (i) carry out the purposes of this Act and rules
           and regulations issued thereunder; (ii) minimize damage to scenic and esthetic values and
           fish and wildlife habitat and otherwise protect the environment; (iii) require compliance
           with applicable air and water quality standards established by or pursuant to applicable
           Federal or State law; and (iv) require compliance with State standards for public health
           and safety, environmental protection, and siting, construction, operation, and maintenance
           of or for rights-of-way for similar purposes if those standards are more stringent than
           applicable Federal standards ... "(43 USC 1765).
    My decision adopts resource mitigation measures, terms, and conditions that will protect the
    environment and require compliance with applicable federal, state, and local laws. My decision
    is consistent with the requirements of FLPMA.

    The National Forest Management Act (NFMA)
    The NFMA provides the statutory direction for the development of Land and Resource
    Management Plans (commonly called Land Management Plans). It also requires that:
           "Resource plans and permits, contracts, and other instruments for the use and occupancy
           of National Forest System lands shall be consistent with the land management plans." (16
           USC 1604(i»



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     The current LMP was adopted by the Regional Forester on April 3, 2006. The Record of
     Decision that adopted the LMP required that re-issuance of existing authorizations be treated as
     new decisions, which must be consistent with the new direction described in the revised LMP.
     The various specialist reports include an evaluation of the consistency with the San Bernardino
     National Forest LMP requirements, and based on that analysis my decision is consistent with
     LMP direction. Two standards in particular were important to my decision. Those standards
     are:
        •   S45: All construction, reconstruction, operation and maintenance of tunnels on National
            Forest System lands shall use practices that minimize adverse effects on groundwater
            aquifers and their surface expressions.
        •   S46: Surface water diversions and groundwater extractions, including wells and spring
            developments will only be authorized when it is demonstrated by the user, and/or agreed
            to by the Forest Service, that the water extracted is excess to the current and reasonably
            foreseeable future needs of forest resources.
                o Consideration of beneficial uses, existing water rights, and the absence of other
                    available water sources will be part of the water extraction application.
                o Approved extractions and diversions will provide for long-term protection and
                    reasonable use of surface water and groundwater resources.
                o Feasibility and sustainability assessments should be appropriately scaled to the
                    magnitude of the extraction or diversion proposed.
    Based on the record and the analysis provided by staff, I have concluded that minimum flows are
    required to meet the current and foreseeable needs offorest resources during the term of the new
    permit. The paired basin study and adaptive management plan provide practices to adjust those
    minimum flows during the permit term to ensure that resource mitigation measures are met,
    which then ensure that the degree of potential adverse effects on the surface expression of the
    water associated with Nestle 's tunnels and horizontal wells are minimized.

    Executive Order 13112 of February 3,1999
    This order directs federal agencies to prevent the introduction of invasive species, detect and
    respond rapidly to and control such species, not authorize, fund , or carry out actions that it
    believes are likely to cause or promote the introduction or spread of invasive species unless the
    agency has determined and made public its determination that the benefits of such actions clearly
    outweigh the potential harm caused by invasive species; and that all feasible and prudent
    measures to minimize risk of harm will be taken in conjunction with the actions.
    I have adopted standard permit conditions that address the requirements of this Executive Order,
    and have adopted additional resource mitigation measures that provide additional detail as to
    how invasive species will be detected and controlled. My decision to authorize this use is
    consistent with this Executive Order.

    Executive Order 13790 of April 25, 2017
    The "Promoting Agriculture and Rural Prosperity in America" executive order establishes policy
    that states:
            "A reliable, safe, and affordable food , fiber, and forestry supply is critical to America's

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           national security, stability, and prosperity. It is in the national interest to promote
           American agriculture and protect the rural communities where food , fiber, forestry, and
           many of our renewable fuels are cultivated. It is further in the national interest to ensure
           that regulatory burdens do not unnecessarily encumber agricultural production, harm
           rural communities, constrain economic growth, hamper job creation, or increase the cost
           of food for Americans and our customers around the world."
    The order also creates a Task Force and includes direction for that Task Force to "identify
    legislative, regulatory, and policy changes to promote in rural America agriculture, economic
    development, job growth, infrastructure improvements, technological innovation, energy
    security, and quality of life." Among the changes that the Task Force is directed to consider are
    "changes that would ... ensure that water users' private property rights are not encumbered when
    they attempt to secure permits to operate on public lands .. . ."
    The executive order is a prospective approach creating a Task Force to consider possible changes
    on many topics, including any changes that might be warranted to avoid encumbrance of water
    users' private property rights in federal permitting. The order does not change applicable current
    law, regulation, or Forest Service policy, nor does it "impair or otherwise affect" the authority
    granted by law to executive departments or agencies or the heads thereof.

    My decision is consistent with current law, regulatiori,. and policy, which includes requirements
    for measures for the protection offish and wildlife resources, and when necessary, measures to
    comply with Land Management Plans. My decision does not attempt to encumber, expand, or
    determine the scope of, any private property rights Nestle may have in association with their
    water use. As discussed above, my decision leaves any issue concerning the extent of Nestle's
    water rights to the state agency who has that authority--the SWRCB.
    Executive Order 13807 of August 15, 2017
    The "Establishing Discipline and Accountability in the Environmental Review and Permitting
    Process for Infrastructure Projects" executive order applies to Federal review of certain
    infrastructure projects. Policy established by the order includes direction to find more efficient
    and effective ways to develop infrastructure without sacrificing environmental, health and safety,
    transparency, and other concerns. The order further establishes a definition for an "infrastructure
    project" and provides process enhancements to achieve the policies expressed in the order.
    The order does not apply to my decision because the decision is not authorizing an infrastructure
    project. The Nestle wells, pipelines, and other support facilities in question already exist and no
    new pipelines or other improvements are authorized. In addition, Nestle's water extraction and
    transport operations are for purposes of its private commercial bottling operations and are not an
    infrastructure project "designed to provide or support services to the general public." My
    decision also is consistent with the spirit of the order in that it involves a single federal agency
    decision utilizing a categorical exclusion with conditions based on the agency objective to
    authorize and manage special uses of National Forest System lands in a manner which protects
    natural resources and public health and safety and is consistent with the Land Management Plan.




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  Special Use Regulations and Policy
  Forest Service regulations for special uses found at Title 36 of the Code of Federal Regulations
  (CFR) Part 251 Subpart B apply to the analysis and decision, as well as Special Use policy in the
  Forest Service Manual section 2700.
  Nestle's predecessor requested a new permit in 1987. That request was accepted as an
  application for a new permit, and is being processed under the current regulations. Those
  regulations at 36 CFR § 251 .64 provide:
         (a) When a special use authorization provides for renewal , the authorized officer shall
         renew it where such renewal is authorized by law, if the project or facility is still being
         used for the purpose(s) previously authorized and is being operated and maintained in
         accordance with all the provisions of the authorization. In making such renewal, the
         authorized officer may modify the terms, conditions, and special stipulations to reflect
         any new requirements imposed by current Federal and State land use plans, laws,
         regulations or other management decisions. Special uses may be reauthorized upon
         expiration so long as such use remains consistent with the decision that approved the
         expiring special use or group of uses. If significant new information or circumstances
         have developed, appropriate environmental analysis must accompany the decision to
         reauthorize the special use.
         (b) When a special use authorization does not provide for renewal , it is discretionary with
         the authorized officer, upon request from the holder and prior to its expiration, whether or
         not the authorization shall be renewed. A renewal pursuant to this section shall comply
         with the same provisions contained in paragraph (a) of this section.
  The 1978 permit does not provide for renewal , however the paragraph (b) requirements
  incorporate the provisions of paragraph (a), including the provision for modifying the terms
  consistent with new land use plans, and the requirement to conduct appropriate environmental
  analysis. Consistent with that direction, I have adopted terms and conditions that reflect new
  requirements imposed by Forest Service regulations and the LMP. I have completed an
  environmental analysis as documented in this Decision Memo. The new pennit itself reflects the
  latest version of the standard Forest Service special use permit (FS-2700-4), and includes
  numerous standard administrative conditions as well as project specific terms. My decision is
  consistent with this regulation.
  My decision is also consistent with the terms of the existing permit clause 23, which states in
  part" a new permit to occupy and use the same National Forest land may be granted provided
  the permittee will comply with the then existing laws and regulations governing the occupancy
  and use of National Forest lands . .."

  Water Uses and Development Policy
  Forest Service Water Uses and Development policy in the Forest Service Manual 2540 provides
  additional direction for privately held water rights and special use authorizations for water
  developments. Section 2541.34 states, in part:
         "The establishment of a water right on National Forest System land does not limit the
         Regional Forester's authority to regulate land use and occupancy, nor to prevent injury to


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            property of the United States. Although a pennittee may make beneficial use of water on
            National Forest System land, the Regional Forester retains the authority to detennine
            management actions needed to comply with rules and regulations for land use and
            occupancy. "
     Section 2541.35 directs:
            "Special-use authorizations that involve water storage, transmission, or diversion
            facilities on National Forest System lands (FSM 2729) authorize occupancy of the land
            only for the specific development purpose. In no case does the United States necessarily
            relinquish any water right it may have, or waive the right to use such water. Include
            stipulations in the authorizing documents to ensure the quantities of water needed to
            fulfill purposes of the National Forest and for environmental needs will be maintained
            instream. Clearly infonn the pennittee that the authorization does not confer any legal
            right to the use of the water, nor does it provide a basis for acquiring such a right as
            against the United States (FSM 2782 and 2783.12)."
     My decision, which includes resource mitigation measures, is consistent with this policy
     direction. The Forest Service has developed standard pennit tenns that further implement this
     direction, and standard pennit clause D-25 will be included in the new pennit.

     REFERENCE MATERIAL
     All documents referenced in this Decision Memo, such as the various reports and assessments,
     are available on-line through the project webpage at:
     http://go. usa.gov/cGyXH (please note - this URL is case sensitive)

     ADMINISTRATIVE REVIEW (ApPEAL) OPPORTUNITIES
     This decision is not subject to the 36 CFR Part 218 Project-Level Pre-decisional Administrative
     Review Process. The Forest Service no longer offers notice, comment and appeal opportunities
     for categorically excluded projects pursuant to 36 CFR Part 215, which were replaced by the 218
     rule.
     My decision is not subject to appeal under the 36 CFR Part 214 Post-decisional Administrative
     Review Process For Occupancy Or Use Of National Forest System Lands And Resources
     regulations as specified in 36 CFR § 2l4.4(c). Specifically my decision to issue a new pennit is
     not a decision to modify, suspend, or revoke a special use authorization. The existing special use
     pennit does not provide for renewal and will tenninate according to its tenns once the new
     pennit is executed or the implementation process described below is complete.

     IMPLEMENTATION
     This decision to authorize the continued use, subject to tenns and conditions that implement the
     LMP, concludes the Forest Service review ofNestl6's application for a new pennit. The new
     pennit will become effective when signed by both the applicant and me (as the authorized
     officer). The pennit must be signed by Nestle and returned to me within 60 days of its receipt by
     Nestle, unless I extend that time. Refusal by Nestle to sign and accept a special use authorization
     within the time allowed, and before its final approval and signature by an authorized officer,

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  shall tenninate an application and constitute denial of the requested use and occupancy (36 CFR
  251.62).

  CONTACT
  For additional infonnation concerning this decision, contact: Tasha Hernandez, Forest Planner,
  at nestl e decision sbnf@fs. fed.u s.




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   QSe])hRechsteiner                                                                                                  Date
  District Ranger
  San Bernardino National Forest




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                                           Appendix 1
                                Nestlé Waters North America Inc.
                                        Special Use Permit
                         Final Adaptive Management Plan Outline (AMP)

The Adaptive Management process includes a:
   1) Forest Plan objective (standard, requirement, handbook)
   2) Monitoring to assess if the objective is being met
   3) Trigger point(s) where Forest Plan objective(s) is not being met
   4) Action(s) to meet Forest Plan objective(s)
   5) Monitoring to assess success of mitigation and restoration
This final AMP is intended to meet San Bernardino NF LMP requirements and standards as part
of the permit when issued. Nestlé is expected to provide detailed information on implementing
the AMP, which will be approved by the Forest Service.
Objective 1      Water Standards
   1) LMP, Part 3, S46: Surface water diversions and groundwater extractions, including
      wells and spring developments will only be authorized when it is demonstrated by the
      user, and/or agreed to by the Forest Service, that the water extracted is excess to the
      current and reasonably foreseeable future needs of forest resources.
   2) Monitoring components
              a. Determination of safe yield (water balance) in the subwatershed containing the
                 extraction points:
                      i. Inputs: Precipitation gaging, groundwater inflow, infiltration
                     ii. Outputs: Evapotranspiration gaging, overland flow, surface water outflow,
                         groundwater outflow including extraction
                    iii. Build a gridded surface water-groundwater model and calibrate it with
                         collected data including structural geology (e.g. faults) components
                             1. Building and calibrating a fractured mountain-front hydrogeologic
                                model is a longer term goal given the lack of baseline data and the
                                multiple parameters needed
              b. Water quality testing to maintain compliance with Clean Water Act Basin Plan
                      i. 475 mg/L TDS
              c. Maintenance of surface water flow to support macroinvertebrate populations and
                 riparian vegetation
              d. The 2002 and 2015 studies showed that the stream reach below Wells 10, 11, 12
                 was dry and didn’t support macroinvertebrate populations. The goal is to reduce
                 extraction until the desired condition (riparian vegetation and macroinvertebrate
                 populations similar to the paired watershed) is achieved. Stream Condition data

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                 has yet to be collected in stream reaches below Wells in complex 7 and below the
                 cluster of wells/springs 1, 1A, 8, and the FS Spring, and tunnels 2 and 3.
              e. Provide drinking water for wildlife at two locations as specified in the Resource
                 Mitigation Measures.
   3) Triggers:
              a. Flows as specified will be maintained in two (2) locations as follows:
                      i. Lower spring complex (10, 11, 12) - 20 gallons per minute (gpm) in the
                         drainage area A tributary of Strawberry Creek immediately above the
                         confluence of drainage area A and B as defined in URS 2002. Drainage
                         area A is the watershed influenced by the water extraction.
                     ii. Borehole complex 1, 1A, and 8 – 6.25 gpm as measured at water right
                         A6108.
              b. These flows are established as initial minimum flows. Nestlé must manage
                 extraction to maintain those minimum flows.
                      i. Flows below the required minimum flows indicate that surface flow is
                         trending towards too dry and that there is no water in excess of the needs
                         of forest resources and therefore there is no water available for extraction.
                     ii. As future data is collected these trigger points can change if monitoring
                         shows the need for adjustment.
   4) Actions:
              a. When trigger a.i or a.ii. is reached, reduce or stop extraction for Wells/Springs
                 based on closest diversion point to measurement reach:
                      i. Water Right A6108 is in closest proximity to boreholes 1, 1A, 8, which
                         will need to be shut-in, potentially seasonally, to provide for the 6.25 gpm.
                     ii. The 20 gpm minimum requirement is hypothesized to be directly affected
                         by extraction at boreholes 10, 11, 12, and indirectly by tunnels 2, 3 and
                         boreholes 7, 7A, 7B, 7C.
                    iii. As the hydrogeology becomes better understood (travel times,
                         groundwater/surface water connections), reduction of extraction from the
                         appropriate sources can be better identified
              b. If the initial actions do not maintain minimum flows, all extraction must cease
                 until flows reach minimum levels required to meet hydrological and biological
                 concerns
   5) Monitoring:
              a. Trigger a.i and a.ii
                      i. Monitor flow at least bimonthly to ensure minimum flow levels are met.
                     ii. Emphasize more frequent monitoring intervals as flow levels approach the
                         minimum flow levels, or less if minimum levels are exceeded over a
                         longer period, such as winter/wet season conditions

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                    iii. Monitor flows with recording hydrographs to capture diurnal fluctuation
                    iv. Track groundwater recovery (i.e pressure transducers, piezometers)
                        between spring locations and surface water drying location(s)
                     v. Measure travel time through the system
                    vi. Measure water quality parameters
                    vii. Track groundwater recovery
Objective 2 - Riparian Standards
   1) LMP, Part 3, S47: When designing new projects in riparian areas, apply the Five-Step
      Project Screening Process for Riparian Conservation Areas as described in Appendix E -
      Five-Step Project Screening Process for Riparian Conservation Areas. Activities are
      designed to protect, maintain, or restore the riparian ecosystem. In the riparian
      conservation areas that include perennial and intermittent streams, lakes, and wetlands
      allow only those actions that maintain or improve long-term aquatic and riparian
      ecosystem health including quantity, quality, and timing of stream flows. As part of the
      analysis consider physical factors, such as soil characteristics, groundwater and surface
      water characteristics, geology and geologic hazards, slope, and stream characteristics;
      and biological factors, such as aquatic and riparian dependent species present, their
      habitat needs (see species guidance documents in Part 3, Appendix H), and the ability of
      the existing environment to provide needed habitat. [Strategy WAT 1 includes RCA
      language and “Restore, maintain and improve watershed conditions over the long-term.”]
   2) Monitoring components – determine potential of riparian ecosystem for restoration
      purposes
              a. Conduct a paired watershed study to assess the riparian health of East Twin Creek
                 compared to the subwatershed of Strawberry Creek where the extraction points
                 are located. Multiple paired study locations may be used to look at different parts
                 of the watershed. Define current riparian/stream health in each watershed at all
                 comparison study reaches.
                      i. Since the 2002 and 2015 studies noted that the creek was dry below the
                         geologic fault near Wells 10, 11, 12, set one monitoring location transect
                         and channel length in East Twin Creek based on elevation and lateral
                         extent of geologic fault structures (this could occur near the H1 bird
                         survey area, Figure 7, Bio technical report)
                     ii. Additional comparison reach locations should coincide with elevation,
                         faulting, geomorphology, etc for extraction locations 1, 2, 3, 7, 8
                         spring/well groupings.
                    iii. Use a modified stream condition inventory/proper functioning condition
                         (SCI/PFC) protocol to gather geomorphology, plant physiology, extent of
                         riparian vegetation (including native mid to late seral stage), condition of
                         the channel, stream characteristics, flow, water quality, macroinvertebrate
                         diversity, stream hydrograph, precipitation, geologic structural controls on
                         flow, etc


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                    iv. Use standard forest inventory plot measurements to monitor condition of
                        riparian vegetation, including seral stage, tree density, regeneration,
                        mortality, species composition, and cover
                     v. Determine improvement in habitat suitability from increased flow rate in
                        drainage by using protocol standards established for southwestern willow
                        flycatcher, Least bell’s vireo, California gnatcatcher, Santa Ana speckled
                        dace, and mountain yellow-legged frog in year 2 and year 4 (if the permit
                        is reissued). If the permit is reissued for year 5, conduct protocol presence
                        surveys for the listed species to determine any occupancy.
                    vi. Conduct comparison of upper reaches of East Twin Creek at same
                        elevation points in watershed as well sites/monitoring stretches in
                        Strawberry Creek
   3) Triggers:
              a. The magnitude, duration, and/or timing of annual extreme flows (low/base and/or
                 high) significantly depart from the natural hydrograph measured in East Twin
                 Creek paired watershed. [Indicates an Impaired rating for Flow Characteristics
                 under Watershed Condition Classification protocol.]
              b. Benthic macroinvertebrate (providing base of food chain to riparian dependent
                 wildlife resources): diversity and abundance supported by base flows measured in
                 East Twin Creek control watershed are not maintained at the 70% level by the
                 6.25 gpm and 20 gpm initial minimum flows in the diversion subwatershed.
                 [Indicates an Impaired rating for Life Form Presence under Watershed Condition
                 Classification protocol.
              c. More than 75% of diversion subwatershed channel length has width-to-depth
                 ratios greater than the East Twin Creek control area. [Indicates an Impaired rating
                 for Channel Shape and Function under Watershed Condition Classification
                 protocol.]
              d. Native vegetation is vigorous, healthy and diverse in age, structure, cover and
                 composition on <75% of the riparian/wetland areas in the diversion subwatershed
                 where extraction is taking place compared to the East Twin Creek control area.
                 [Indicates an Impaired rating for Riparian Vegetation under Watershed Condition
                 Classification protocol.]
   4) Actions:
              a. Reduce extraction from springs/boreholes whose travel time connectedness allows
                 for magnitude, duration, and/or timing of base flow to be maintained. (This level
                 of flow could be different than minimum under Objective 1 triggers.)
              b. Reduce extraction from springs/boreholes to provide sufficient water to support
                 benthic macroinvertebrate diversity and abundance at a level greater than 70% of
                 that measured in the East Twin Creek control watershed.
              c. Reduce extraction from springs that affect groundwater depth within the riparian
                 zone to allow groundwater to rise to the rooting depth of the riparian dependent
                 vegetation.

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              d. Reduce extraction to allow for vegetation to reach a sustained level of 75% area
                 of vigorous, healthy and diverse in age, structure, cover, and composition as
                 described by the Watershed Condition Classification standards.
   5) Monitoring:
              a. Base flow maintenance levels are to be maintained and measured in the low flow
                 periods until sufficient fall/winter rainfall raises the level to a non-base flow level
                 based on gaging in control watershed.
              b. Benthic macroinvertebrate diversity and abundance will be measured in
                 Strawberry Creek and the control watershed of East Twin Creek at the same time
                 (same day or week). Data should be collected at strategic time intervals and
                 locations with appropriate protocols, avoiding taking data immediately following
                 scouring flows, and matching the substrate, spatial, and lateral components of the
                 control watershed and focusing on riffles rather than runs or pools.
              c. Shallow groundwater monitoring piezometers (with data loggers) set back from
                 the channel to either side within the riparian corridor to measure wetted depth for
                 supporting riparian vegetation.
              d. Monitor riparian vegetation health across the lateral extent of the survey reaches
                 using vegetative health indicators, determined through consultation with Forest
                 Service specialists, until threshold is reached. Track water needs to reach this
                 level and maintain reduced extraction levels seasonally to maintain this level of
                 vegetative health.
Objective 3 – Species Standards
   1) LMP, Part 3, S11: When occupied or suitable habitat for a threatened, endangered,
   proposed, candidate or sensitive (TEPCS) species is present on an ongoing or proposed
   project site, consider species guidance documents (see Appendix H) to develop project-
   specific or activity-specific design criteria. This guidance is intended to provide a range of
   possible conservation measures that may be selectively applied during site-specific planning
   to avoid, minimize or mitigate negative long-term effects on threatened, endangered,
   proposed, candidate or sensitive species and habitat. Involve appropriate resource specialists
   in the identification of relevant design criteria and appropriate species lists. Include review of
   species guidance documents in fire suppression or other emergency actions when and to the
   extent practicable.
       LMP, Part 3, S24: Mitigate impacts of on-going uses and management activities on
       threatened, endangered, proposed, and candidate species.
   2) Monitoring components – determine potential of micro-riparian habitats from untapped
      springs and meadows to be used as reference point for determining restoration potential
      in Strawberry Creek watershed
              a. Investigate East Twin Creek to find un-tapped springs, and seeps both in upper
                 areas (elevations similar to diversions) and lower down (where increased
                 groundwater pressure could be maintaining these features)
                      i. Document lateral/spatial extent of riparian vegetation and TEPCS plants
                         and wildlife on bi-yearly interval, years – 2 and 4 of permit

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                     ii. Measure rooting depth
                    iii. Measure groundwater levels
                    iv. Conduct presence/absence surveys for special status wildlife and plant
                        species identified with habitat present; years 2 and 4 of permit.
                     v. Identify spring discharge and surface water extent
                             1. Set movement cameras to document use of surface water by
                                animals – monitoring for 1 week in spring, summer and fall
                                quarters
              b. All types of monitoring in control watershed must be duplicated in diversion sub
                 watershed.
   3) Triggers:
              a. From 70% to 90% of expected aquatic life forms and communities are present
                 based on the potential found in the East Twin Creek watershed. [Indicates a
                 Functioning at Risk rating for Life Form Presence under Watershed Condition
                 Classification protocol.]
              b. Less than 70% of expected aquatic life forms and communities are present based
                 on the potential found in the East Twin Creek watershed. [Indicates an Impaired
                 rating for Life Form Presence under Watershed Condition Classification
                 protocol.]
   4) Actions:
              a. Using water from the spring/well diversion sites, increase water flow to create
                 areas for restoration of riparian vegetation and/or to provide wildlife drinkers or
                 for wildlife drinkers – this can be achieved by providing bypass/pressure release
                 valve, spring box plumbed from site, or other mechanism approved by FS.
              b. Continue the addition of water (irrigation) to support success of native special
                 status vegetation and provide for wildlife habitat linkages.
   5) Monitor restoration of plant and animal communities on bi yearly basis.
Objective 4 – Invasive Species Standards
   1) LMP Part 1. Goal 2.1 Reverse the trend of increasing loss of natural resources due to
      invasive species. Forest Service Manual direction for Invasive Species Management is
      contained in FSM 2900, effective December 5, 2011. This direction sets forth National
      Forest System policy, responsibilities, and direction for the prevention, detection, control,
      and restoration of effects from aquatic and terrestrial invasive species.
   2) Monitoring components – identify, quantify, and map existing occurrences of priority
      invasive plant and animal species within the project area and document with GIS polygon
      shapefiles or GPS coordinates.
              a. The priority invasive plant and animal list is to be based on species that are
                 included in Cal IPC list of species considered to be High and Medium threat to
                 ecological systems, and are not already ubiquitous throughout both the project

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                 area and the paired watershed of East Twin Creek. This list will be compiled in
                 consultation with USFS botany and wildlife specialists.
              b. All types of monitoring in control watershed must be duplicated in extraction
                 watershed
   3) Triggers:
              a. Cover, quantity or extent of current infestations are increasing.
              b. New invasive species are identified.
   4) Actions:
              a. Consult with USFS botany and biology specialists to determine most effective
                 control/eradication methods allowed by agency policy and direction.
              b. Initiate control as soon as possible within the time period for most effective
                 treatment.
              c. Remove biomass containing reproductive potential (root segments, seeds, or
                 flowers that could develop into viable seed) from project site and FS land.
              d. Remove adult, juvenile or larval forms of animals from project site and NFS land.
              e. Provide yearly report of monitoring and control efforts including names of
                 workers/surveyors, date, method of control, and location.
   5) Monitor and re-treat when necessary to control or eradicate identified invasive plant and
      animal infestations.




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